                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 1 of 18 Page ID #:1



                                      1    JAMES A. MARISSEN (SBN: 257699)
                                           jmarissen@grsm.com
                                      2    RACHEL A. WEITZMAN (SBN: 307076)
                                           rweitzman@grsm.com
                                      3    GORDON REES SCULLY MANSUKHANI, LLP
                                           2211 Michelson Drive, Suite 400
                                      4    Irvine, CA 92612
                                           Telephone: (949) 255-6996
                                      5    Facsimile: (949) 474-2060
                                      6    Attorneys for Plaintiff
                                           HAPAG-LLOYD AKTIENGESELLSCHAFT, HAMBURG
                                      7
                                      8                         UNITED STATES DISTRICT COURT
                                      9                        CENTRAL DISTRICT OF CALIFORNIA
                                     10
                                     11    HAPAG-LLOYD                                   CASE NO.
Gordon Rees Scully Mansukhani, LLP




                                           AKTIENGESELLSCHAFT,
  2211 Michelson Drive, Suite 400




                                     12    HAMBURG,                                      COMPLAINT
                                     13                             Plaintiff,
         Irvine, CA 92612




                                     14          vs.
                                     15    CTS GLOBAL LOGISTICS (GEORGIA)
                                           INC. d/b/a CTS GLOBAL SUPPLY
                                     16    CHAIN SOLUTIONS; CTS
                                           INTERNATIONAL LOGISTICS CO.,
                                     17    LTD.; and SHENZHEN CTS
                                           INTERNATIONAL LOGISTICS CO.,
                                     18    LTD.,
                                     19                             Defendants.
                                     20
                                     21          COMES NOW Plaintiff HAPAG-LLOYD AKTIENGESELLSCHAFT,
                                     22    HAMBURG (“HAPAG-LLOYD”), and as its Complaint and causes of action
                                     23    against Defendants CTS GLOBAL LOGISTICS (GEORGIA) INC. d/b/a CTS
                                     24    GLOBAL SUPPLY CHAIN SOLUTIONS, CTS INTERNATIONAL LOGISTICS
                                     25    CO., LTD., and SHENZHEN CTS INTERNATIONAL LOGISTICS CO., LTD.
                                     26    (collectively “Defendants”) alleges as follows:
                                     27                             JURISDICTION AND VENUE
                                     28
                                                                                   -1-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 2 of 18 Page ID #:2



                                      1          1.     This is a maritime claim for breach of contract and unpaid freight,
                                      2    detention, demurrage and/or storage costs pursuant to ocean sea waybills and an
                                      3    ocean carrier's tariff and comprises an admiralty and maritime claim pursuant to
                                      4    Rule 9(h) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1333(1). In the
                                      5    alternative, it presents a federal question under 28 U.S.C. § 1331 in that it arises
                                      6    under the Shipping Act of 1984, as amended, 46 U.S.C. §§ 40101 et seq.
                                      7          2.     This Court also has diversity jurisdiction under 28 U.S.C. § 1332, as
                                      8    there exists complete diversity of citizenship among the parties hereto and the
                                      9    amount in controversy exceeds the sum of $75,000.
                                     10          3.     Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) in
                                     11    that at least one of Defendant’s place of business is within the judicial district of
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12    this Court, and as such resides within the judicial district of this Court. Moreover,
                                     13    the transactions that form the basis for the subject contracts for ocean carriage
         Irvine, CA 92612




                                     14    occurred within the judicial district of this Court.
                                     15                                          PARTIES
                                     16          4.     Plaintiff HAPAG-LLOYD is now and was at all material times a
                                     17    foreign corporation duly organized and existing under the laws of Germany with a
                                     18    principal place of business in Hamburg, Germany. HAPAG-LLOYD was, and is,
                                     19    an ocean carrier and common carrier of goods for hire on ocean-going vessels
                                     20    between United States ports and foreign ports.
                                     21          5.     Defendant CTS GLOBAL LOGISTICS (GEORGIA) INC. d/b/a CTS
                                     22    GLOBAL SUPPLY CHAIN SOLUTIONS (“CTS Global”) is now and was at all
                                     23    material times a Georgia corporation with an office at 19855 Quiroz Court, City of
                                     24    Industry, CA 91789.
                                     25          6.      Defendants CTS INTERNATIONAL LOGISTICS CO., LTD. and
                                     26    SHENZHEN CTS INTERNATIONAL LOGISTICS CO., LTD (collectively “CTS
                                     27    International”) is a business entity organized and existing under the laws of the
                                     28    People’s Republic of China (“PRC”) with its principal place of business located at
                                                                                 -2-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 3 of 18 Page ID #:3



                                      1    20/F, Tian An Centre, No. 338 Nanjing Road (West), Shanghai 200003. CTS
                                      2    maintains offices in more than one city in PRC, including at 4/F CTS Warehouse
                                      3    Kaiping Road No. 2, Overseas Chinese Town, Nanshan District, Shenzhen, China.
                                      4          7.     Defendant CTS Global is, and at all material times was, the named
                                      5    shipper on the sea waybills relevant to this Complaint.
                                      6          8.     Defendant CTS Global is, and at all material times was, a freight
                                      7    forwarder doing business in the United States with licensing from the Federal
                                      8    Maritime Commission.
                                      9          9.     Defendant CTS International is, and at all material times was, the
                                     10    named consignee on the sea waybills relevant to this Complaint and also issued
                                     11    house bills of lading for the shipments at issue in this Complaint.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12          10.    Defendant CTS International is, and at all material times was, a non
                                     13    vessel owning common carrier (“NVOCC”) doing business in the United States
         Irvine, CA 92612




                                     14    with licensing from the Federal Maritime Commission.
                                     15          11.    Defendants CTS Global and CTS International are, and at all material
                                     16    times were, bonded with the Federal Maritime Commission in relation to their
                                     17    freight forwarding and NVOCC activities in the United States.
                                     18                               FACTUAL BACKGROUND
                                     19          12.    Between October and December 2015, Defendant CTS Global
                                     20    booked seventy-six (76) containers of cargo (the “Cargo”) for shipment with
                                     21    HAPAG-LLOYD for carriage from Norfolk, Virginia to Gaolan, China. CTS
                                     22    Global represented and warranted that the containers contained “copper ingot.” In
                                     23    accordance with the booking, HAPAG-LLOYD designated “CTS Global Supply
                                     24    Chain Solution” as the shipper of the Cargo and “Shenzhen CTS International
                                     25    Logistics Co., Ltd.,” being the Shenzhen branch of Defendant CTS International
                                     26    Logistics Co., Ltd., as the consignee of the Cargo.
                                     27          13.    HAPAG-LLOYD received the Cargo and transported the seventy-six
                                     28    (76) containers on various vessels from Virginia to Gaolan, pursuant to the terms
                                                                                   -3-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 4 of 18 Page ID #:4



                                      1    and conditions of HAPAG-LLOYD Sea Waybill Numbers:
                                      2    HLCUCHI1509APTO8, HLCUCHI151007174, HLCUCHI151049142, and
                                      3    HLCUCHI151178348 (the “HAPAG-LLOYD Sea Waybills”).
                                      4           14.   Defendant CTS International, in its capacity as an NVOCC, issued its
                                      5    own “house” bills of lading covering the transportation of the Cargo from St. Louis
                                      6    Missouri to Gaolan, China via the port in Norfolk, Virginia, including but not
                                      7    limited to CTS International House Bill Nos. WTSI15090067 and WTSI15100007,
                                      8    (the “CTS Bills of Lading”). The CTS Bills of Lading named “Asia Global
                                      9    Renewable Energy Corp” and “DJL Mining Corp.” as the shipper of the Cargo.
                                     10    The Cargo was consigned “to order,” thus no named consignee was designated in
                                     11    the CTS Bills of Lading. Under the terms of the CTS Bills of Lading, CTS was
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12    permitted to subcontract the whole or part of the handling, storage, or carriage of
                                     13    the Cargo with other carriers. Here, HAPAG-LLOYD was the subcontracted ocean
         Irvine, CA 92612




                                     14    carrier.
                                     15           15.   HAPAG-LLOYD is informed and believes and thereupon alleges that
                                     16    Defendants CTS Global and CTS International were at all material times the
                                     17    shipper, holder, consignee, receiver of the Cargo, and/or person owning or entitled
                                     18    to the possession and control of the Cargo and/or the HAPAG-LLOYD Sea
                                     19    Waybills, and/or the person or entity acting on behalf of such persons and thus
                                     20    qualify as a “Merchant” under Clause 1 of the HAPAG-LLOYD Sea Waybills
                                     21    (defined below). The Defendants, and each of them, were entities for whose
                                     22    account the transportation services were provided by HAPAG-LLOYD, were the
                                     23    parties that received and benefitted from the transportation services provided by
                                     24    HAPAG-LLOYD, and were the entities responsible for payment of the charges
                                     25    relating to the Cargo.
                                     26           16.   The Cargo was tendered by Defendants to HAPAG-LLOYD for
                                     27    transportation between United States and Gaolan, China on ocean vessels for
                                     28
                                                                                    -4-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 5 of 18 Page ID #:5



                                      1    which freight and other charges were lawfully incurred pursuant to the terms of the
                                      2    HAPAG-LLOYD Sea Waybills and/or HAPAG-LLOYD’s applicable tariff(s).
                                      3          17.         HAPAG-LLOYD is informed and believes and thereupon alleges that
                                      4    Defendants received and accepted the HAPAG-LLOYD Sea Waybills.
                                      5          18.         The HAPAG-LLOYD Sea Waybills contract terms and conditions
                                      6    provide the following:
                                      7                ...
                                      8                1. Definitions
                                      9                ...
                                     10                “Merchant” includes the shipper, holder of the Sea Waybill,
                                     11                consignee, the person to whom the data have been forwarded as
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12                provided for in clause 2(2) and the receiver of the Goods.
                                     13                ...
         Irvine, CA 92612




                                     14                10. CARRIAGE AFFECTED BY CONDITION OF
                                     15                GOODS
                                     16                If it appears at any time that, due to their condition, the Goods
                                     17                cannot safely or properly be carried further or without incurring
                                     18                additional expense or taking any measure(s) in relation to the
                                     19                Container or the Goods, the Carrier may without notice to the
                                     20                Merchant take any measure(s) and/or incur any additional
                                     21                expense to carry or to continue the Carriage thereof, and/or sell
                                     22                or dispose of the Goods, and/or abandon the Carriage and/or
                                     23                store them ashore or afloat, under cover or in the open, at any
                                     24                place, whichever the Carrier, in his absolute discretion,
                                     25                considers most appropriate, which abandonment, storage, sale
                                     26                or disposal shall be deemed to constitute due delivery under this
                                     27                Sea Waybill. The Merchant shall indemnify the Carrier against
                                     28                any additional expense and liability so incurred.
                                                                                     -5-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 6 of 18 Page ID #:6



                                      1             …
                                      2             12. MERCHANT’S RESPONSIBILITIES
                                      3             (1) All of the Persons coming within the definition of Merchant
                                      4             in Clause 1 shall be jointly and severally liable to the Carrier
                                      5             for the fulfilment of all obligations and warranties undertaken
                                      6             by the Merchant either in this Sea Waybill, or required by law.
                                      7             The Merchant shall indemnify the Carrier against all loss,
                                      8             damage, expenses and fines, arising or resulting from any
                                      9             breach of these obligations and warranties.
                                     10             (2) The Merchant shall comply with all regulations or
                                     11             requirements of customs, ports and/or other authorities and
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12             shall bear and pay all duties, taxes, fines, imposts, expenses or
                                     13             losses (including Freight or any additional Carriage) incurred or
         Irvine, CA 92612




                                     14             suffered by reason of any failure to so comply, or by reason of
                                     15             any illegal, incorrect, or insufficient marking, number or
                                     16             addressing of the Goods or the discovery of any drugs,
                                     17             narcotics, stowaways or other illegal substances within
                                     18             Containers packed by the Merchant or inside Goods supplied by
                                     19             the Merchant, or stamp duty imposed by any country, and shall
                                     20             indemnify the Carrier in respect thereof.
                                     21             …
                                     22             14. FREIGHT
                                     23             (1) Freight shall be deemed fully earned on receipt of the Goods
                                     24             by the Carrier and shall be paid and nonreturnable in any event.
                                     25             (2) Freight has been calculated and must be paid on the basis of
                                     26             particulars furnished by or on behalf of the shipper. If the
                                     27             particulars furnished by or on behalf of the shippers are
                                     28
                                                                                   -6-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 7 of 18 Page ID #:7



                                      1             incorrect, liquidated damages must be paid to the Carrier, in
                                      2             accordance with the applicable Tariff.
                                      3             (3) All Freight shall be paid without any set-off or counterclaim
                                      4             unless the claim is not in dispute or confirmed by final court
                                      5             decision.
                                      6             (4) If the Merchant fails to pay the Freight when due, he shall
                                      7             be liable for all costs, liquidated damages in accordance with
                                      8             the applicable Tariff and in particular interest which accrues
                                      9             until payment.
                                     10             …
                                     11             18. MATTERS AFFECTING PERFORMANCE
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12             If at any time the Carriage is or is likely to be affected by any
                                     13             hinderance, risk, danger, delay, difficulty or disadvantage of
         Irvine, CA 92612




                                     14             any kind including but not limited to war, civil commotion,
                                     15             political unrest, piracy, act of terrorism and threat thereof and
                                     16             howsoever arising (even though the circumstances giving rise
                                     17             to such hindrance, risk, danger, delay, difficulty or disadvantage
                                     18             existed at the time this contract was entered into or when the
                                     19             Goods were received for the Carriage), then the Carrier
                                     20             (whether or not the Carriage is commenced) may, at its sole
                                     21             discretion and without prior notice to the Merchant, either:
                                     22             (1) carry the Goods to the contracted port of discharge or place
                                     23             of delivery, whichever is applicable by an alternative route to
                                     24             that indicated on page 2 of this Sea Waybill or that which is
                                     25             usual for Goods consigned to that port of discharge or place of
                                     26             delivery and shall be entitled to charge such additional Freight;
                                     27             or
                                     28
                                                                                   -7-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 8 of 18 Page ID #:8



                                      1             (2) suspend the Carriage of the Goods and store them ashore or
                                      2             afloat and endeavor to forward them as soon as reasonably
                                      3             possible and shall be entitled to charge such storage costs and
                                      4             additional Freight; or
                                      5             (3) abandon the Carriage of the Goods and place them at the
                                      6             Merchant’s disposal at any place or port which the Carrier may
                                      7             deem safe and convenient, whereupon the responsibility of the
                                      8             Carrier in respect of such Goods shall cease. The Merchant
                                      9             shall pay any additional costs of the Carriage to, and delivery
                                     10             and storage at, such place or port.
                                     11             ...
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12             20. NOTIFICATION AND DELIVERY
                                     13             ...
         Irvine, CA 92612




                                     14             (2) The Merchant shall take delivery of the Goods within the
                                     15             time provided for in the Carrier’s Applicable Tariff. If the
                                     16             Merchant fails to do so the Carrier shall be entitled, without
                                     17             notice, to unpack the Goods if packed in Containers and / or to
                                     18             store the Goods ashore, afloat, in the open or under cover, at the
                                     19             sole risk of the Merchant. Such storage shall constitute due
                                     20             delivery hereunder, and thereupon the liability of the Carrier in
                                     21             respect of the Goods stored as aforesaid shall wholly cease, and
                                     22             the Merchant shall be responsible for the costs of such storage,
                                     23             as well as detention and demurrage.
                                     24             (3) If the Merchant fails to take delivery of the Goods within
                                     25             thirty days of delivery becoming due under Clause 20 (2), or if
                                     26             in the opinion the Carrier they are likely to deteriorate, decay,
                                     27             become worthless or incur charges whether for storage or
                                     28             otherwise in excess of their value, the Carrier may, without
                                                                                 -8-
                                          Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 9 of 18 Page ID #:9



                                      1                prejudice to any other rights which he may have against the
                                      2                Merchant, without notice sell, destroy or dispose of the Goods
                                      3                and apply any proceeds of sale in reduction of the sums due to
                                      4                the Carrier from the Merchant.
                                      5          19.      HAPAG-LLOYD is informed and believes that the Cargo was loaded
                                      6    and discharged by various carrying vessels in Hong Kong pursuant to instructions
                                      7    received by Defendants. However, Defendants refused to provide shipping
                                      8    instructions and/or customs documentations and/or take delivery of the seventy-
                                      9    six (76) containers and they remained idle at the marine terminal in Hong Kong
                                     10    (the “Idle Containers”) between November 2015 and July 2016 thereby accruing
                                     11    various daily and other charges including, for example, detention and demurrage.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12    Having delivered the Cargo, HAPAG-LLOYD fully performed all of its
                                     13    obligations under the HAPAG-LLOYD Sea Waybills.
         Irvine, CA 92612




                                     14          20.      The Idle Containers consist of the following shipments:
                                     15                   (a)   A shipment of twenty-three (23) containers, being containers
                                     16    numbered: CHLU3605105, TGHU2527467, HLXU3411901, CAIU2683572,
                                     17    HLXU3360471, FCIU2473194, BEAU2171186, HLXU1080954, HLXU1306907,
                                     18    TTNU1999069, FSCU3852490, HLXU3391282, HLXU1267246, HLXU3473360,
                                     19    TCLU2880834, BSIU2288608, XINU1158666, BEAU2219000, TGHU2850973,
                                     20    TGHU2745319, FCIU2583020, HLXU2307894, and CPSU1068585 that were
                                     21    shipped under HAPAG-LLOYD Sea Waybill No. HLCHUCHI1509APTO8;
                                     22                   (b)   A shipment of twenty-six (26) containers, being containers
                                     23    numbered: CAXU6291102, TCLU2833489, DRYU2007692, HLXU1085869,
                                     24    HLXU1248014, TRLU9354698, TEMU5449860, GATU1306421,
                                     25    AMFU3225283, HLXU1075881, GESU3431562, TGHU2838387,
                                     26    HLXU1022705, FSCU7919668, HLXU3398219, GLDU3402869, HLXU1148083,
                                     27    HLXU3511330, HLXU3299710, DFSU2669447, FCIU3518117, GESU3513742,
                                     28
                                                                                     -9-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 10 of 18 Page ID #:10



                                      1   GLDU5328288, GLDU3896740, FCIU2781941, and CAXU6301915 that were
                                      2   shipped under HAPAG-LLOYD Sea Waybill No. HLCUCHI151007174;
                                      3                 (c)   A shipment of one (1) container, being container
                                      4   GESU2060770 that was shipped under HAPAG-LLOYD Sea Waybill No.
                                      5   HLCUCHI151049142; and
                                      6                 (d)   A shipment of twenty-six (26) containers, being containers
                                      7   numbered: GLDU3165197, HLXU2374402, HLXU3445943, CAXU6233852,
                                      8   TGHU2417500, DRYU2013490, DFSU2674340, CPSU1810061, HLBU1238493,
                                      9   GATU0441176, TGHU0883957, HLBU1095432, CAXU6697982,
                                     10   CLHU2159420, HLXU3493978, HLXU2357489, FSCU3813301, CPSU1785992,
                                     11   TCLU2847918, GLDU5798830, CAIU2678370, HLXU1239270, FSCU7695104,
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   HLXU1384474, GATU1352108, and HLXU3383800 that were shipped under
                                     13   HAPAG-LLOYD Sea Waybill No. HLCUCHI151178348.
         Irvine, CA 92612




                                     14           21.   Despite receiving notice of arrival of the Cargo in Hong Kong,
                                     15   Defendants, and each of them, failed and refused provide the required shipping
                                     16   instructions and/or customs documentation for the Cargo to be further transported
                                     17   from Hong Kong to Gaolan, China. Further preventing discharge of the Cargo in
                                     18   Gaolan, a third-party purporting to act as the owner of the Cargo and/or holder of
                                     19   the HAPAG-LLOYD Sea Waybills filed an emergency action in Hong Kong and
                                     20   obtained an injunction preventing the further movement of the Cargo from Hong
                                     21   Kong.
                                     22           22.   HAPAG-LLOYD is informed and believes and thereupon alleges that
                                     23   the contents of the Idle Containers which comprise the shipments were loose mud
                                     24   and sand instead of “copper ingot” which, as mislabeled or misdeclared goods, are
                                     25   banned from importation into China. This misdescription is in violation of the
                                     26   merchant’s warranty under Clauses 12 and 14 of the HAPAG-LLOYD Sea
                                     27   Waybills.
                                     28
                                                                                  -10-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 11 of 18 Page ID #:11



                                      1         23.     HAPAG-LLOYD subsequently arranged for the destruction of the
                                      2   Cargo in the Idle Containers and incurred additional costs for the transshipment
                                      3   and destruction of the Cargo in the Idle Containers.
                                      4         24.     As a result of the Defendants’ failure to provide the required
                                      5   shipping instructions and/or customs documentation and/or take delivery of the
                                      6   Idle Containers, and its misdeclaration on the HAPAG-LLOYD Sea Waybills,
                                      7   HAPAG-LLOYD has incurred damages, liabilities, charges, expenses, fees and
                                      8   costs for storage, detention, demurrage, customs and local fees, inspection,
                                      9   transportation, salvage, transshipment, disposal, and destruction.
                                     10         25.     Under the terms of the HAPAG-LLOYD Sea Waybills, Defendants
                                     11   are obligated to pay these costs, damages, and expenses due and owing by
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   Defendants to HAPAG-LLOYD totaling approximately US$1,867,163.68.
                                     13         26.     HAPAG-LLOYD fully performed all of its obligations under the
         Irvine, CA 92612




                                     14   HAPAG-LLOYD Sea Waybills. Defendants received and benefitted from the
                                     15   transportation services provided by HAPAG-LLOYD, and is responsible for
                                     16   payment of these various damages, expenses and costs relating to the Idle
                                     17   Containers.
                                     18                              FIRST CAUSE OF ACTION
                                     19                            (For Breach of Maritime Contract)
                                     20         27.     HAPAG-LLOYD refers to and incorporates by reference as though
                                     21   fully set forth at length herein its allegations in paragraphs 1 through 26 above.
                                     22         28.     HAPAG-LLOYD transported and carried the Cargo in the Idle
                                     23   Containers as described herein, at the request and for the benefit of the
                                     24   Defendants, in accordance with the terms and conditions of the HAPAG-LLOYD
                                     25   Sea Waybills.
                                     26         29.     HAPAG-LLOYD fully performed all of its obligations under the
                                     27   HAPAG-LLOYD Sea Waybills and carried the Cargo in the Idle Containers to
                                     28   and discharged the Cargo at Hong Kong, as demanded by Defendants.
                                                                               -11-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 12 of 18 Page ID #:12



                                      1         30.    Under the terms of the HAPAG-LLOYD Sea Waybills and
                                      2   applicable law, the Defendants required to provide shipping instructions and/or
                                      3   customs documentation and/or to accept delivery of the Cargo within the time
                                      4   provided for in HAPAG-LLOYD’s Sea Waybills and/or HAPAG-LLOYD’s
                                      5   applicable tariff, and they agreed to be responsible and liable for any and all
                                      6   damages, liabilities, charges, costs, expenses and fees arising from or resulting
                                      7   from their failure to provide shipping instructions and/or customs documentation
                                      8   and/or to accept delivery of the Cargo.
                                      9         31.    Under the terms of the HAPAG-LLOYD Sea Waybills and
                                     10   applicable law, Defendants also warranted and guaranteed the accuracy of the
                                     11   particulars of the Cargo booked for shipment, including the description and
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   nature of the Cargo, and agreed to indemnify HAPAG-LLOYD for any loss,
                                     13   damage and expenses arising from inaccuracies in such particulars, the violation
         Irvine, CA 92612




                                     14   of government laws and regulations, and for the shipment of banned cargo to
                                     15   China.
                                     16         32.    Under the terms of the HAPAG-LLOYD Sea Waybills and
                                     17   applicable law, Defendants further agreed to be liable and responsible for any
                                     18   and all freight and other charges due under the HAPAG-LLOYD Sea Waybills
                                     19   and/or applicable tariffs.
                                     20         33.    Defendants breached the terms of the HAPAG-LLOYD Sea
                                     21   Waybills by, inter alia, failing to provide the required shipping instructions and/or
                                     22   customs documentations and/or accepting or arranging delivery of the Cargo,
                                     23   misdeclaring the particulars of the contents of the Idle Containers, including their
                                     24   nature and being banned from import into China, failing to pay all charges
                                     25   relating to the transportation, storage and handling of the Cargo in the Idle
                                     26   Containers, and by failing to pay HAPAG-LLOYD the damages, liabilities,
                                     27   detention, demurrage, charges, salvage costs, transshipment and destruction costs,
                                     28
                                                                                    -12-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 13 of 18 Page ID #:13



                                      1   and other expenses and fees arising from Defendants’ breach or breaches of the
                                      2   HAPAG-LLOYD Sea Waybills.
                                      3         34.    As a proximate cause of Defendants’ breach or breaches of the
                                      4   HAPAG-LLOYD Sea Waybills, breach of warranty, and the matters set forth
                                      5   herein, HAPAG-LLOYD has incurred, and Defendants are joint and severally
                                      6   liable to HAPAG-LLOYD for, damages in an amount exceeding
                                      7   US$1,867,163.68, which includes, but is not limited to, amounts due for
                                      8   detention, demurrage, storage, customs fees and penalties, salvage and disposal
                                      9   costs, delivery costs, transshipment and destruction costs, inspection costs and
                                     10   administrative costs.
                                     11                             SECOND CAUSE OF ACTION
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12                             (Money Due Under Marine Tariff)
                                     13         35.    HAPAG-LLOYD refers to and incorporates by reference as though
         Irvine, CA 92612




                                     14   set forth herein at length its allegations in paragraphs 1 through 34 above.
                                     15         36.    HAPAG-LLOYD transported and carried the Cargo in the Idle
                                     16   Containers as described herein, at the request and for the benefit of Defendants,
                                     17   and in accordance with the terms and conditions of the HAPAG-LLOYD Sea
                                     18   Waybills and subject to the rates and charges in its tariffs on file with the Federal
                                     19   Maritime Commission.
                                     20         37.    Under the said tariffs, HAPAG-LLOYD is required to collect and is
                                     21   entitled to recover from Defendants, and Defendants are required to pay
                                     22   HAPAG-LLOYD, all unpaid demurrage, detention, port and terminal storage
                                     23   charges, and any other damages, liabilities, charges, penalties, costs, expenses
                                     24   and fees arising from the carriage of the Idle Containers, Defendants’ failure to
                                     25   provide required shipping instructions and/or customs documentation and/or
                                     26   accept delivery of the Idle Containers, Defendants’ misdeclaration of the nature
                                     27   of the contents of the Idle Container and/or shipping banned Cargo to China.
                                     28
                                                                                    -13-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 14 of 18 Page ID #:14



                                      1         38.    Despite demand for payment, Defendants have failed to pay
                                      2   HAPAG-LLOYD amounts due under the tariffs and tariff compensation is due,
                                      3   owing and unpaid to HAPAG-LLOYD from Defendants in an amount exceeding
                                      4   US$1,867,163.68. Additional charges continue to accrue in accordance with the
                                      5   terms of said tariffs, together with attorneys’ fees, costs and expenses incurred in
                                      6   collecting said charges.
                                      7                              THIRD CAUSE OF ACTION
                                      8                                        (Negligence)
                                      9         39.    HAPAG-LLOYD refers to and incorporates by reference as though
                                     10   set forth herein at length its allegations in paragraphs 1 through 38 above.
                                     11         40.    At all material times herein, Defendants owed HAPAG-LLOYD a
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   legal duty to exercise due care to provide required shipping instructions and/or
                                     13   customs documentation, to accept delivery of the Idle Containers in Hong Kong
         Irvine, CA 92612




                                     14   and/or Gaolan, to ensure that the particulars of the contents of the Idle Containers
                                     15   were not misrepresented or misdeclared to HAPAG-LLOYD, and to ensure cargo
                                     16   banned from importation into China was not shipped. The legal duty of
                                     17   Defendants to HAPAG-LLOYD arose because Defendants are parties to the
                                     18   HAPAG-LLOYD and/or issued the CTS Bills of Lading. The legal duty of
                                     19   Defendants to HAPAG-LLOYD also arose independently of the aforesaid sea
                                     20   waybills because of many factors, including, without limitation, the
                                     21   foreseeability of harm to HAPAG-LLOYD from their acts and omissions, the
                                     22   degree of certainty that HAPAG-LLOYD suffered injuries, the closeness of the
                                     23   connection between Defendants’ conduct and the injury suffered, the moral
                                     24   blame of Defendants’ conduct, and the availability, cost and prevalence of
                                     25   insurance to cover risks involved.
                                     26         41.    Defendants breached said duty of care by, inter alia, failing to
                                     27   provide required shipping instructions and/or customs documentations and/or
                                     28   accept delivery of the Idle Containers in Hong Kong or otherwise arranging for
                                                                                   -14-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 15 of 18 Page ID #:15



                                      1   its delivery, for negligently misrepresenting and/or misdeclaring the particulars
                                      2   of the Cargo in the Idle Containers, including the nature of the shipments, and/or
                                      3   for shipping banned cargo to China.
                                      4         42.    As a proximate result of the negligence of Defendants, HAPAG-
                                      5   LLOYD has incurred, and Defendants are joint and severally liable to HAPAG-
                                      6   LLOYD for, additional freight, storage, demurrage, detention, liabilities, charges,
                                      7   penalties, costs, expenses and fees in an amount exceeding US$1,867,163.68
                                      8   plus any additional damages and costs as they continue to accrue.
                                      9                            FOURTH CAUSE OF ACTION
                                     10                    (For Work and Labor Performed/Quantum Meruit)
                                     11         43.    HAPAG-LLOYD refers to and incorporates by reference as though
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   set forth herein at length its allegations in paragraphs 1 through 42 above.
                                     13         44.    In or about October to December 2016, Defendants became indebted
         Irvine, CA 92612




                                     14   to HAPAG-LLOYD for the work and labor performed by HAPAG-LLOYD at
                                     15   the request and for the benefit of Defendants, for which Defendants agreed to pay
                                     16   HAPAG-LLOYD.
                                     17         45.    Despite due demand, Defendants owe HAPAG-LLOYD an amount
                                     18   exceeding US$1,867,163.68 for said work and labor performed and/or HAPAG-
                                     19   LLOYD is entitled to recover the value of said work and labor pursuant to the
                                     20   doctrine of quantum meruit.
                                     21                              FIFTH CAUSE OF ACTION
                                     22                            (For Intentional Misrepresentation)
                                     23         46.    HAPAG-LLOYD refers to and incorporates by reference as
                                     24   though set forth in paragraphs 1 through 45 above.
                                     25         47.    Defendants falsely described to HAPAG-LLOYD the Cargo in the
                                     26   Idle Containers and/or submitted documents to HAPAG-LLOYD falsely
                                     27   describing the Cargo in the Idle Containers.
                                     28
                                                                                   -15-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 16 of 18 Page ID #:16



                                      1         48.     Defendants knew that the Cargo in the Idle Containers was not
                                      2   “copper ingots.” They knew that the representation to HAPAG-LLOYD that they
                                      3   were shipping “copper ingots” was false when made and false when HAPAG-
                                      4   LLOYD subsequently asked Defendants for the required shipping instructions
                                      5   and/or customs documentation and/or to take possession of the Idle Containers.
                                      6         49.     Defendants knew that HAPAG-LLOYD would reasonably rely
                                      7   on Defendants’ intentional misrepresentations, and HAPAG-LLOYD did
                                      8   reasonably rely on Defendants’ representations when accepting the Idle
                                      9   Containers for shipment, to its detriment.
                                     10         50.     HAPAG-LLOYD’s damages as a result of Defendants’ actions
                                     11   include but are not limited to additional storage, demurrage, detention,
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   transshipment and destruction costs, liabilities, charges, penalties, other
                                     13   costs, expenses and fees in an amount exceeding US$1,867,163.68 plus any
         Irvine, CA 92612




                                     14   additional damages and costs as they continue to accrue.
                                     15                              SIXTH CAUSE OF ACTION
                                     16                            (For Negligent Misrepresentation)
                                     17         51.     HAPAG-LLOYD refers to and incorporates by reference as
                                     18   though set forth in paragraphs 1 through 50 above.
                                     19         52.     Defendants falsely described to HAPAG-LLOYD the Cargo in the
                                     20   Idle Containers and/or submitted documents to HAPAG-LLOYD falsely
                                     21   describing the Cargo in the Idle Containers.
                                     22         53.     Defendants had no reasonable grounds to believe that the Cargo in
                                     23   the Idle Containers was “copper ingots” and intended for HAPAG-LLOYD to
                                     24   rely on the representation that these shipments consisted of copper ingots or
                                     25   zinc oxide.
                                     26         54.     Defendants’ misrepresentations to HAPAG-LLOYD were negligent.
                                     27         55.     HAPAG-LLOYD’s damages as a result of Defendants’ actions
                                     28   include but are not limited to additional freight, storage, demurrage, detention,
                                                                                   -16-
                                      Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 17 of 18 Page ID #:17



                                      1   transshipment and destruction costs, liabilities, charges, penalties, other costs,
                                      2   expenses and fees in an amount exceeding US$1,867,163.68 plus any additional
                                      3   damages and costs as they continue to accrue.
                                      4                            SEVENTH CAUSE OF ACTION
                                      5                                  (For Declaratory Relief)
                                      6         56.    HAPAG-LLOYD refers to and incorporates by reference as
                                      7   though set forth herein at length its allegations contained in paragraphs 1
                                      8   through 55 above.
                                      9         57.    There is an actual controversy between HAPAG-LLOYD and
                                     10   Defendants regarding the legal rights and duties of the parties with respect to the
                                     11   Cargo in the Idle Containers. HAPAG-LLOYD contends that the Defendants are
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   responsible and liable to HAPAG-LLOYD for any and all additional freight,
                                     13   storage, demurrage, detention, transshipment and destruction costs, liabilities,
         Irvine, CA 92612




                                     14   charges, penalties, other costs, expenses and fees arising from the carriage of the
                                     15   Cargo in the Idle Containers, Defendants’ failure to provide required shipping
                                     16   instructions and/or customs documentation and/or accept delivery of the Cargo in
                                     17   the Idle Containers, Defendants’ misdescription and misdeclaration of the
                                     18   particulars of the Cargo in the Idle Containers, and/or arising from Defendants
                                     19   shipping loose mud and dirt to China. HAPAG-LLOYD is informed and
                                     20   believes and thereupon alleges that the Defendants deny they are responsible and
                                     21   liable to HAPAG-LLOYD for the aforesaid damages and dispute in some
                                     22   manner the contentions of HAPAG-LLOYD.
                                     23         58.    HAPAG-LLOYD seeks a declaration of the rights and liabilities of
                                     24   HAPAG-LLOYD and Defendants pursuant to 28 U.S.C. Section 2201.
                                     25                                         PRAYER
                                     26               WHEREFORE, Plaintiff HAPAG-LLOYD prays for judgment against
                                     27   Defendants, and each of them, as follows:
                                     28
                                                                                   -17-
                                       Case 2:19-cv-08622 Document 1 Filed 10/07/19 Page 18 of 18 Page ID #:18



                                       1                1.    That the Court order judgment in favor of HAPAG-LLOYD
                                       2   and against the Defendants, and each of them, in an amount not less than
                                       3   US$1,867,163.68, for any and all additional freight, storage, demurrage,
                                       4   detention, transshipment and destruction costs, liabilities, charges, penalties,
                                       5   other costs, expenses and fees caused by Defendants’ breach or breaches of the
                                       6   HAPAG-LLOYD Sea Waybills and/or applicable tariffs, negligence, for all
                                       7   amounts due under HAPAG-LLOYD’s tariffs, and for HAPAG-LLOYD’s work
                                       8   and services performed or quantum meruit as well any additional damages and
                                       9   costs that continue to accrue at an amount to be established at trial;
                                      10                2.    That the Court declare the rights and liabilities of the parties;
                                      11                3.    That the Court award HAPAG-LLOYD its attorneys’ fees,
 Gordon Rees Scully Mansukhani, LLP
   2211 Michelson Drive, Suite 400




                                      12   costs and expenses incurred as a result of Defendants’ breach or breaches and/or
                                      13   in collecting the sums due from Defendants;
          Irvine, CA 92612




                                      14                4.    That the Court award HAPAG-LLOYD interest on all of the
                                      15   above as well as its costs of suit; and
                                      16                5.    That the Court award such other and further relief as the Court
                                      17   deems just and proper.
                                      18
                                           Dated: October 7, 2019                      GORDON REES SCULLY
                                      19                                               MANSUKHANI, LLP
                                      20
                                      21                                               By: /s/ James A. Marissen
                                                                                           JAMES A. MARISSEN
                                      22                                                   RACHEL A. WEITZMAN
                                      23                                                   Attorneys for Plaintiff
                                                                                           HAPAG-LLOYD
                                      24                                                   AKTIENGESELLSCHAFT,
                                      25                                                   HAMBURG.

                                      26
                                      27
                                      28
1151824/47854455v.1
                                                                                     -18-
